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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


 Justin Mark,                                   Case No. 21-CV-1646 (SRN/TNL)

                       Petitioner,

            v.                                               ORDER

 B. Birkholz et al.,

                       Respondents.


 Justin Mark, Reg. No. 16060-043, Federal Prison Camp, P.O. Box 1000, Duluth, MN
 55814, Petitioner pro se.

 Ana H. Voss and Chad A. Blumenfield, United States Attorney's Office, 300 South
 Fourth Street, Suite 600, Minneapolis, MN 55415 for Respondents.


       This matter is before the Court on the Report and Recommendation of United States

Magistrate Judge Tony N. Leung dated October 12, 2021 [Doc. No. 6]. No objections have

been filed to that Report and Recommendation in the time period permitted.

       The Court, being duly advised in the premises, upon the Report and

Recommendation of the Magistrate Judge, and upon all of the files, records and

proceedings herein, now makes and enters the following Order.

       IT IS HEREBY ORDERED that this action is DISMISSED WITHOUT

PREJUDICE under Rule 41(b) for failure to prosecute.

       LET JUDGMENT BE ENTERED ACCORDINGLY.
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Dated: October 29, 2021

                                         s/Susan Richard Nelson
                                         SUSAN RICHARD NELSON
                                         United States District Judge




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